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                                                     October 16, 2020

BY ECF and EMAIL                      So ordered. /s/ Alvin K. Hellerstein
Honorable Alvin K. Hellerstein        October 18, 2020
United States District Court
Southern District of New York
500 Pearl Street
New York, NY 10007

       Re:   United States v. Marco Suazo Nunez
             20 Cr. 393 (AKH)


Dear Judge Hellerstein,

       With the consent of the Government and Pretrial Services, I write to
request a modification of Mr. Suazo Nunez’ bail conditions to home detention
with location monitoring. I further request that Mr. Suazo Nunez be
permitted to obtain employment, subject to approval by Pretrial Services.

       While out on bail Mr. Suazo Nunez has been compliant with the
mandates set forth by the Court and Pretrial Services. He reports regularly
to Pretrial Services and maintains communication with my office.

       Thank you for your consideration of this application.


                                              Respectfully submitted,


                                              _____________________________
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                                              Tamara L. Giwa
                                              Counsel for Mr. Suazo Nunez
                                              Federal Defenders of New York
                                              (917) 890-9729


Cc:    AUSA Sarah Kushner (via email)
